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                              UNITED STATES DISTRICT COURT
                              EASTERN DISTRICT OF VIRGINIA
                                  ALEXANDRIA DIVISION

    UNITED STATES, et al.,

                          Plaintiffs,

          vs.                                               No: 1:23-cv-00108-LMB-JFA

    GOOGLE LLC,

                          Defendant.


                                        NOTICE OF FILING

         At the hearing on May 31, 2024, the Court directed the parties to meet and confer and “to

  come up with a revised order” memorializing the Court’s oral ruling on Plaintiffs’ Rule 72

  objections to the Magistrate Judge’s rulings. (Dkt. No. 696, May 31, 2024, Hrg. Tr. at 30:10-12.)

  The parties met and conferred about the revised order but did not agree on its terms. Defendant

  Google LLC proposed making a joint filing, which Plaintiffs declined. Therefore, Google submits

  its proposed order, which is attached hereto.

  Dated: June 4, 2024.




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